Keith Mitchell€'&§e'iam®@*(¥r°(]®¢é@iRLW DOC. #Z 278-1 Fil€d! 02/28/18 PB_Q€Z 1 Of 11 PB_Q€|D #Z 14138/18.7158 PM

A PROJECT OF THE UNIVERSITY OF CALIFORNIA IR\/Il\lE NEWKIRK CENTER FOR SCIENCE & SOCIETY,
Ul\ll\/ERSITY OF MICHIGAN LAW SCHOOL & MICHIGAN STATE UNI\/ERSITY COLLEGE OF LAW

7116 Naz‘iorzq{ Registry

 

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KE|TH M|TCHELL

Other Cook County Exonerations with False Confessions

On the afternoon of Ju|y 22, 1992,
two gunmen opened fire on a group

, of people standing on the corner of
79th Street and E||is Avenue on the
South Side of Chicago, Illinois. Thirty-
seven-year-old Howard Shell was
killed and two others--72-year-old
John McDaniel and 22-year-old Kevin
Braham_were wounded.

Witnesses said the two gunmen were
between the ages of 18 and 24. They
said that one ran up to a car on
nearby Dobson Street, took off his
jacket, and placed it in the vehicle.
One witness, Joseph Tribett, said he
would recognize the gunmen if he saw them again.

 

Keith Mitchell

Police immediately suspected that Jermaine Bates was responsible. A
day earlier, Shell and others had forced their way into the Bates family
home and robbed Jermaine’s mother, Debra, in a dispute over missing
narcotics. Debra Bates had called police to report the incident, but
then changed her mind about pressing charges. She told police she
would handle the matter herse|f.

About a week later, Chicago police detective Michael McDermott
brought Jermaine Bates in for questioning. Jermaine told police that he
was a member of the Vice Lords street gang and admitted that he had
handled the guns used in the shooting. He said, however, that the
gunmen were 15-year-old Keith Mitchell and 19-year-old Tyce Dove,
and that 19-year~old Lanell Townsend drove the getaway car. Jermaine
said all three were also members of the Vice Lords. Shell was a
member of the Gangster Disciples, a \hce Lords riva|.

On the morning of August 1, 1992, Dove and Townsend were arrested.
Dove signed a statement at 5:30 a.m. implicating himself, Townsend,
and Mitchell. He would later testify that McDermott and detective Jack
Wilkins choked him and gave him nothing to eat or drink until he gave
a statement based on facts the detectives fed to him.

Townsend denied involvement. He later asserted that McDermott hit
him in the face, choked him, and banged his head against the wall of
the interrogation room. When Townsend refused to confess,
McDermott called him a “young, dumb nigger.” U|timately, McDermott
wrote a police report saying that Townsend had confessed, claiming
that Dove shot Shell and that Mitchell fired gunshots into the crowd of
people.

Mitchell, who had never before been inside a police station, learned
that police were looking for him. Short|y after midnight on the morning

https:l/www.law.umich.eclu/special/exoneratlon/Pages/casedetail.aspx?caseid=5230

CURRENTLY 2,177 EXUNERAT|UNS
MURE THAN 18,`/50 YEARS L[]ST

State:
County:

Most Serious
Crime:

Additional
Convictions:

Reported
Crime Date:

Convicted :
Exonerated :
Sentence:
Race:

Sex:

Age at the
date of
crime:

Contributing
Fact:ors:

Did DNA
evidence
contribute to
the

exoneration?:

Illinois
Cook

Murder

Assau|t

1992

1995
2017
30 years
Black
Male

15

False Confession, Perjury
or False Accusation,
thcial Misconduct,
Inadequate Legal Defense

NO

Page 1 of 5

Keith M“°h°"C'&WGFSZEWIUPMA'BNRLW DOC. #Z 278-1 Filed: 02/28/18 Page: 2 Of 11 Page|D #Z 14198/13'7=53 PM

of August 2, 1992, Mitchell and his mother, Audrey Mitche|l, went to
the police station where they met with McDermott and Wilkins. Audrey
said she was going to get a lawyer and told Mitchell not to talk to the
detectives. Alter she left, the detectives began talking to Mitchell
anyway. Although Mitchell denied involvement, the detectives told him,
“You might as well go ahead and te||, you will get probation.”

When Mitchell’s mother returned to the interrogation room, she found
the detectives interrogating Mitchell. She again asked them to stop
and went to answer a page from her sister's husband. Mitchell later
testified that the detectives left, but returned as soon as Audrey was
gone and the interrogation changed tone.

The detectives told him that he wasn't going to leave the station, and
that he was going to tell them what happened whether he liked it or
not. They repeatedly popped their knuckles, made fists, and drew their
guns.

Mitchell’s mother returned once more to the interrogation room and
reported that a lawyer had been contacted. She then left in response
to a page from the lawyer, Fredrenna Lyle, who told her that she would
come to the police station. When Audrey was walking up the stairs to
return to the interrogation room, a different detective told her she was
no longer needed. When she insisted she be allowed to return, she
was told that she would be arrested if she didn't leave.

Audrey called attorney Lyle, who called the station to let them know
that she was on her way and to ask that the interrogation cease. The
detectives, however, ignored her. Instead, they told Mitchell that he
didn't have to worry about his mother being present-now he could
tell them the truth.

Not long after, a prosecutor, Sharon Jefferson, came into the
interrogation room and a youth officer arrived, but remained only
briefly. Then, not long after, Audrey Mitchell and Lyle arrived. Lyle
instructed that the questioning should stop and that if the detectives
wanted to question him, they needed to contact her.

Despite this instruction, McDermott and Wi|kins resumed interrogating
Mitchell as soon as Lyle left the station. They subsequently reported to
the prosecutor that Mitchell had orally admitted involvement in the
shooting. Jefferson, the prosecutor, later testified that Mitchell
admitted that he told the detectives the truth about his involvement,
but that he did not want to give or sign a written statement.

Mitchell was charged as an adult with first-degree murder and two
counts of aggravated battery. Prior to trial, his defense attorney filed a
motion to suppress the alleged confession.

McDermott testified and denied that Audrey Mitchell ever said she was
going to get an attorney, and denied that Mitchell said he did not want
to talk to them. McDermott said that Mitchell told them he wanted to
tell the truth-that he was involved-but did not want to say it in front
of his mother. McDermott said that Mitchell confessed at 3 a.m.,
although police reports showed that the youth officer wasn't contacted
until after 3 a.m.

Wi|kins testified and said that McDermott had pulled him aside not
long after Mitchell and his mother arrived. He said that Mitchell wanted
to confess, but not in front of his mother. Wi|kins produced notes that
he said he made of Mitchell’s admission, but conceded he had never
shown them to Mitchell or asked him to sign them. Moreover, no
police report referred to Mitchell’s alleged admissions.

Mitchell testified and denied involvement in the crime. He also denied
implicating himself in the crime. He said he did tell the detectives he
had heard shots that night from a distance, but asserted that he only
told the police that because he was scared. He said those “little things”
were false and the result of being threatened and coerced.

The court denied the motion to suppress the confession, and in the
spring of 1995, Mitchell and Townsend went to trial in Cook County
Circuit Court. Townsend chose to have his case decided by the trial
judge without a jury and Mitchell chose to have a jury decide his case.

https://www.|aw.umich.edu/special/exoneration/Pages/casedetai|.aspx?caseid=5230 Page 2 of 5

Keith Mil°h°"€'&§€'!amBGWI°UQWAIQ-ULW DOC. #Z 278-1 Filed: 02/28/18 Page: 3 Of 11 Page|D #Z 142/@3/13-7=58 PM

The two surviving victims testified about the shooting, but were unable
to identify who shot them. The detectives testified that Mitchell had
confessed, Inexp|icably, no evidence was offered regarding Townsend's
alleged oral confession.

Mitchell testified about how the detectives refused to stop questioning
him, and that they intimidated and threatened him. He denied any
involvement in the crime. He said that while he had visited the Bates
home at various times, it was only to exchange video games. His
mother and the attorney, Fredrenna Lyle, testified about their efforts
to stop the interrogation and how those efforts were ignored.

On Apri| 7, the trial judge acquitted Townsend and declared a mistrial
in the case against Mitchell when the jury was unable to reach a
unanimous verdict.

Mitchell went to trial a second time in Ju|y 1995 along with Tyce Dove.
Separate juries were empaneled to hear each of their cases at the
same time.

The evidence against Mitchell was virtually the same as in the first
trial. However, after the defense finished presenting its evidence, the
prosecution called a new rebuttal witness. Gene Ke|ler testihed that
Mitchell was a member of the Vice Lords street gang-the gang that
police believed was responsible for the shooting and whose members
included Jermaine Bates. Ke|ler said that he and Mitchell were initiated
at the same time.

Ke|ler testified that two days after the shooting, he told police that he
was in a car with Townsend on the day of the shooting when Dove ran
up and gave a bundled-up jacket to Townsend. The prosecution
contended that this supported Dove's confession.

Ke|ler admitted that he had recanted that statement almost
immediately afterward, but said that he did so because he was afraid
of retaliation from fellow gang members. Ke|ler admitted that he had
been subpoenaed to come to Mitchell’s first trial, but did not appear
and was still facing a contempt of court petition for that failure to
appear. He also admitted that in May 1995-a month after his failure
to appear-police spotted him and he fled in a car, escaping but
striking another vehicle in the process. He said he turned himself in
the following day and was later placed in a witness protection
program. Ke|ler testified that he was not charged in the hit and run
accident, and that he had been promised that the contempt petition
would be withdrawn after he testified.

Un|ike Mitchell’s attorney, Dove's defense attorney presented
testimony pointing to Jermaine Bates as the real criminal. McDermott
admitted that Bates’s mother had been robbed the day before the
shooting by Howard She||, the man who was fatally shot. McDermott
also admitted that Debra Bates initially called police to report the
robbery, but then said she did not want to press charges because she
would handle the matter herse|f.

McDermott testified that he believed Jermaine Bates had knowledge of
the shooting, but was not involved because he lived too close to where
the shooting occurred. He conceded that Bates had f|unked a
polygraph when asked about involvement in the shooting and that
witnesses said the getaway car was gray-the same color as Bates’s
car.

During closing argument, the prosecution argued-improperly-that
McDermott would never lie because if he were to frame an innocent
15-year-o|d, McDermott “wou|d have been in prison a long time ago.”

On July 24, 1995, Mitchell’s jury convicted him of first-degree murder
and two counts of aggravated battery. Dove's jury acquitted him.
Mitchell was sentenced to 30 years in prison.

Mitchell’s convictions were upheld by the I|linois Court of Appeals in
1998. In 2002, Mitchell filed a post-conviction seeking a new trial on
the ground that his confession was false and should have been barred
from his trial.

https://www.|aw.umich.edu/special/exoneration/Pages/casedetail.aspx?caseid=5230 Page 3 of 5

KeithMitche"c-:asevazvzi@elc/roomu@vmvv Doc.#: 273-1 i=iled: 02/28/13 Page:40f11PagelD#:142@8/13.7=58¢»»»

In 2016, after Kim Foxx was elected Cook County State's Attorney, the
prosecution conducted an independent review of Mitchell’s case. In
October 2017, the prosecution made an oral motion to vacate
Mitchell's convictions, but the trial court declined to grant it, saying
that the prosecution should return with a written motion.

On November 6, 2017, the Cook County State's Attorney’s Office and
Mitchell’s |awyers, Gayle Horn and Tara Thompson, H|ed a joint motion
to vacate the convictions and to dismiss the charges against Mitchell.
The motion said that the prosecution, following its review of the case,
had concluded that Mitchell had “made a substantial showing that his
constitutional rights were violated."

- Maurice Possley

Report an error or add more information about this case.

Posting Date: 11/16/2017

https://www.law.umich.edu/special/exoneration/Pages/casedetai|.aspx?caseid=5230 Page 5 of 5

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LOEVY & LOEVY

311 N. Aberdeen St., 3rd Floor, Chicago, I|linois 60607

 

January 12, 2018
Re-' Ke}n'nda ]lljtc}ze]]
Dear Sir or Madam!

This letter is to inform you that Kehinda Mitchell is represented by our firm,
Loevy & Loevy, in connection with his civil rights claims arising out of his wrongful
conviction for a 1992 murder that he did not commit. Mr. Mitchell is in the process
of preparing to file a civil rights lawsuit that, among other claims, will raise claims
under 42 U.S.C. Section 1983. Mr. Mitchell is also pursuing, with the assistance of
the EXoneration Project at the University of Chicago Law School, a Certificate of
Innocence under Illinois law, 735 ILCS 5/2"702.

While we cannot guarantee any outcome for Mr. Mitchell, if successful in his
pursuit of a Certificate of lnnocence, Mr. Mitchell could be awarded in excess of
$199,150. If Mr. Mitchell's civil rights claims proceeded to trial, we could seek $1 to
$2 million dollars per year for each of the 15 years that he wrongfully served in

prison.

Please let me know if you have any questions about Mr. Mitchell's case ' we
will do our best to answer them.

Very truly yours,

Tara Thompson

cci Kehinda Mitchell

WWW . LO EVY . C O M main 312.243.5900 l fax 312.243.5902

Case: 4:16-cr-OO440-RLW Doc. #: 278-1 Filed: 02/28/18 Page: 6 of 11 Page|D #: 1423

 
  
  

Client:

Claim:

Contract Number:

Funded Amount:

Date of Contract:

General Terms:

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W

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CONTRACT PROPOSAL

Kehinda Mitchell

Kehinda Mitchell vs. State of Illinois / City of Chicago, et al.,
COI - 92 CR 19459 / Case #TBD

l 81L.523

$20,050.()0

February 23, 2018

Subj ect To Minimum Return of 10% of Amount Funded

No Pre-Payment Penalties after l()% Minimum
Funding Charge Prorated on a Daily Basis after ]O% Minimum

Mr. Mitchell has been approved for Pre-Settlement Funding subject to receiving
your signed Acknowledgment of Convenience Request. Plcase sign this document and tax
it back to our office as soon as possible Once We receive the signed Acknowledgrnent We
will be able to distribute Mr. Mitchell’s proceeds Also, attached is a copy of the Settlernent
Funding Contract for your review

Should you have any questions, please feel free to contact me.

Sincerely,

Su`Zan H. Wojtan

10700 West Higgins Road ~ Suite lOO ~ Rosemont, lL 60018

Ph: 888-578-2566 ~ Fax: 888-519-4570 ' Www.smpadvance.com

Case: 4:16-cr-00440-RLW Doc. #: 278-1 Filed: 02/28/18 Page: 7 of 11 Page|D #: 1424

§ W%§civance teni:ii“rigif rtc

Financlal Rellei for the lnjured

  

February 20, 2018

Kehinda Mitchell

c/o Loevy & Loevy

311 North Aberdeen Street
Chicago, lL 60607

RE: $20,050.00 Settlement Funding Contract Between Kehinda Mitchell and SMP
Advance Funding, LLC

Kehinda Mitchell vs. State of Illinois / Citv of Chicago, et al., CO[ - 92 CR 19459/
Case #TBD

Dear Mr. Mitchell:

Enclosed is a Settlement Funding Contract Which you will need to sign and have notarized. Please
initial each page of the Contract. The Contract also has attached a Conveniencc Request which you will
need to sign. Please keep one copy of the Settlement Funding Contract and attachments for your files.
Also, enclosed is a Disbursement Instructions (Exhibit B) form which you will need to complete and return
to us. This form will direct us as to how you want to receive your loan proceeds

We have also enclosed a copy of an Acknowledgement of Convenience Request and Settlement
Funding Contract (Exhibit A) which has been faxed to your attorney. Please note your Settlement
Funding Contract cannot be made final until and unless your attorney signs the Acknowledgement

document and we receive it along with a signed copy of the Settlement Funding Contract, prior to
February 23, 2018.

As referenced in Sections l(e), Z(i) and 5 of the Settlement Funding Contract you will be obligated
to pay the amount advanced plus accrued interest on said amount at the rate of 36% compounded annually
Please note that as referenced in Sections 1(d), l(l) there is 10% minimum rate of return that you will pay
based off the amount advanced to you. Generally, this will only be applicable if the advance is paid off
within a relatively short period of time.

Also, please note that although the total funded amount provided to you is $20,050.00, you will only
be receiving $20,000.00 because we are deducting your $50.00 Processing Fee out ofthe total funded amount
This is done as convenience for you so you will not have to pay the Fee directly out-of-pocket.

Finally, under the terms of the Settlement Funding Contract SMP will have a security interest in the
proceeds of your pending claim/lawsuit/litigation and may file a UCC Financing Statement with the Illinois
Secretary of State to further secure its lien. In the event of such filing you will be responsible at the time the
advance is due for reimbursing SMP for any security interest fees paid in perfecting and releasing the security
interest related to this Collateral under the Settlement F undng Contract.

lf you have any questions, please free to contact us. Thanl< you for choosing SMP Advance Funding.

.,- Sincerely,

`~SuZ n H. Wojtan

 
 
 

Enc.

10700 West Higgins Rocid ' Sui’re 100 ' Rosemoni, illinois 60018
Ph: 888-578-2566 ’ FAX: 888-519-4570 ' www.smpcidvcnce.com

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Report finds record number of US
exonerations in 2015

 

Keith Mitchell at his North Side home Thursday Dec. 9, 2015. ln 1992, Mitchell then 15 yrs. old was arrested and Wrongfully
convicted forthe murder ofHoward Shell. Mitchell spent 14 1/2 yrs. in prison. (Phll Velasquez/Chicago Tribune)

By Tribune news services

FEBRUARY 3, 2016, l2:09 Al\/l l HOUSTON

' l ‘ he U.S. saw a record number of exonerations in 2015, with nearly 40 percent of the cases

involving individuals Who Were exonerated in homicides, a new report shows.

The National Registry of Exonerations said in its report Wednesday that 149 people falsely convicted of
crimes were exonerated last year. That's 10 more than in 2014, the year With the previous highest total
since the group began keeping records in 1989. The registry is a project of the University of Michigan
Law School and has documented more than 1,730 such cases in the U.S.

Since 2011, the annual number of exonerations has more than doubled and there are now an average of
nearly three exonerations a Week, said Samuel Gross, a University of Michigan law professor and
registry editor.

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"What's driving it? Continuing increased interest and sensitivity and concern about the problem but also

a focus on increasing activity by conviction integrity units," Gross said. The integrity units are divisions

in various district attorney offices around the country that identify and correct false convictions

Texas, the second-most populous state, had the most exonerations with 54. New York, the fourth-most

populous, Was second With 17.

Homicides and sex crimes made up nearly half of all exonerations in the U.S. According to the registry, a
record 58 defendants Who Were exonerated in 2015 had been convicted of homicide, with five having

received death sentences and 19 having been sentenced to life in prison.

There Were homicide exonerations in 25 states and the District of Columbia, With Illinois having the

most (11 exonerations), followed by NeW York (9 exonerations) and Alaska (4 exonerations).

The registry's report also said there Was a record 27 exonerations in 2015 for convictions based on false
confessions, with 22 of those in homicide cases. Also, 44 of the 58 homicide case exonerations involved

cases in Which there Was official misconduct by authorities

"The thing that is most troubling to me about these cases is it's clear that for every innocent defendant
Who is convicted and later exonerated, there are several others Who are convicted Who are not
exonerated because almost all the exonerations depend on a great extent on good fortune, on Lady

Luck," Gross said,

Brooklyn District Attorney Ken Thompson, Whose conviction integrity unit has had 17 exonerations in

the last two years, said his unit has a clear philosophy: ensuring that justice is done.

Three of the exonerations Thompson's office helped obtain in 2015 Were connected to a deadly 1980 fire
that killed a mother and her five children. The three men Who Were convicted had their arson and
murder convictions overturned in December after Thompson's office Was able to cast doubt on the fire

v science that helped convict the men. The office also discovered the only eyewitness Who had tied the
men to the fire recanted the identification on her death bed. One of the men Whose conviction Was

overturned had died in prison in 1989.

"This case is indicative of our determination here in Brooklyn to get to the bottom of our cases, to get to

the truth," Thompson said.

For the second year in a row, the large number of exonerations in Texas Was due in part to individuals
Who had their drug convictions dismissed after lab tests determined they never had illegal substances. In
2015, there Were 42 drug case exonerations in Harris County, Where Houston is located - up from 31 in

2014. In these cases, individuals pleaded guilty before a lab test was completed.

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lnger Chandler, chief of the conviction review section with the Harris County District Attorney’s Office,

said her office has since changed its policies and no longer allows pleas in drug cases until a lab report is
completed. There are probably about 200 of these cases still pending in the DA's office, she said,

"That's what I'm tasked with as a prosecutor, to seek justice, not to seek convictions Justice is making
sure the wrong person doesn't go to prison just as much as it's making sure the right person does,"
Chandler said.

Associated Press

Copvright© 2016, Chicago Tribune

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The Honorable Judge Ftonnie L. White
Thomas F. Eagleton United States Courthouse
Courtroom 10 South

111 South 10th Street

St. Louis, l\/lO 63102

January 25th, 2018

Dear Judge White,

l am the Lincoln County Jail Supervisor Where Kehlnda Mitchell is currently being held. lt is rare
that l Write a letter to express character and potential likelihood for reform to again become a
model citizen of society, with the safety of the public being considered first and foremost

Kehinda l\/litche||, is an exceptional inmatel He has been housed here for almost a year and has
never caused a problem. He is an excellent Bart)er and has the skill set to professionally make
a living for himself as a Barber. During his incarceration here at Lincoln County, he has provided
haircuts to both staff and inmates, Without any compensation He is Well liked by both staff and
inmates l\/lr. l\/litchell, has conducted himself With respect for others along With being generous
and polite. He is a model inmate and has brought a calming effect to his housing unit.

l trust that this letter Will serve to assist you during sentencing consideration.

 

l_ieutenant Randy Davis

Lincoln County Sheriff’s Office

